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                                                                       United States District Court
                                                                         Southern District of Texas

                                                                            ENTERED
                                                                        September 02, 2020
                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS                       David J. Bradley, Clerk

                           GALVESTON DIVISION

STATE OF TEXAS, et al,                    §
                                          §
        Plaintiffs,                       §
VS.                                       §    CIVIL ACTION NO. 3:19-CV-365
                                          §
ALEX M. AZAR II, et al,                   §
                                          §
        Defendants.                       §

                                     ORDER

       The plaintiffs’ motion to alter or amend the judgment (Dkt. 46) is granted.

The final judgment order entered on August 20, 2020 (Dkt. 45) is withdrawn. To

clarify, the court’s dismissal of the plaintiffs’ claims for lack of subject-matter

jurisdiction (Dkt. 44) is without prejudice.

       Signed on Galveston Island this 2nd day of September, 2020.



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                                            JEFFREY VINCENT BROWN
                                         UNITED STATES DISTRICT JUDGE




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